        Case 2:20-cv-01959-BMS Document 176 Filed 07/12/22 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 THOMAS REMICK, et al., on behalf of                 :
 themselves and all others similarly situated,       :     CIVIL ACTION
                                                     :
                      Plaintiffs-Petitioners,        :
                                                     :
                                                     :
        v.                                           :
                                                     :
 CITY OF PHILADELPHIA; and BLANCHE                   :
 CARNEY, in her official capacity as                 :
 Commissioner of Prisons,                            :
                                                     :     No. 20-1959
                      Defendants-Respondents.        :

                                            ORDER

       AND NOW, this 12th day of July, 2022, pursuant to Fed. R. Civ. P. 23(e), upon

consideration of the parties’ Joint Motion for Final Approval of Class Action Settlement (“Joint

Motion”), and following a fairness hearing conducted on July 6, 2022, and for the reasons set forth

in the Court’s Memorandum of this same date, the Court hereby GRANTS the Joint Motion (ECF

No. 173) and ORDERS and finds as follows:

       1.      By Order dated March 11, 2022, the Court previously certified a class pursuant to

               Fed. R. Civ. P. 23(a) and 23(b)(2) of: “All persons who are currently or will be in

               the future confined in the Philadelphia Department of Prisons, and are or will be

               subjected to illegal or unconstitutional conditions of confinement as a result of

               policies and restrictions implemented in response to the COVID-19 pandemic, and

               the PDP’s staffing shortage.” (ECF Nos. 152-53.) The Court hereby recertifies that

               class—which also comprises the certified subclass—as the Settlement Class.

       2.      The Court has jurisdiction over the subject matter and over all parties, including

                                                 1
 Case 2:20-cv-01959-BMS Document 176 Filed 07/12/22 Page 2 of 3




     over all members of the Settlement Class.

3.   The posting of the Notice of Settlement, substantially in the form presented to this

     Court, (see ECF No. 173 Exs. B-C), to Settlement Class members constitutes

     adequate notice of the Settlement Agreement, these proceedings, and the rights of

     Settlement Class members to object to the Settlement Agreement.

4.   Due and adequate notice of the proceedings was given to the Settlement Class and

     a full opportunity to participate in the July 6, 2022 fairness hearing was offered to

     the Settlement Class. No class member gave notice of an intent to appear and

     present an objection at that hearing; thus, it is hereby determined that all Settlement

     Class members are bound by the Settlement Agreement and this final Order.

5.   The Court finds that the Settlement Agreement (ECF No. 173 Ex. A) is fair,

     reasonable, and adequate and hereby approves the Settlement Agreement.

6.   Defendants are instructed to withdraw their pending Petition for Permission to

     Appeal this Court’s Class Certification Order with the Third Circuit Court of

     Appeals (Case No. 22-8013) as agreed in the Settlement Agreement.

7.   The Court finds that $340,000.00 to class counsel is a reasonable award of

     attorneys’ fees and costs.

8.   The terms of the Settlement Agreement are incorporated into this Order. This Order

     shall operate as a final judgment and dismissal without prejudice of the claims in

     this action.

9.   The Court retains jurisdiction over any matter which may arise in connection with

     the administration of this Settlement Agreement as agreed in the Settlement

     Agreement.

                                       2
 Case 2:20-cv-01959-BMS Document 176 Filed 07/12/22 Page 3 of 3




10.   Plaintiffs’ Motion for Preliminary Injunction (ECF No. 128) and Defendants’

      Motion to Dismiss (ECF No. 148) are DISMISSED as moot.

11.   This Clerk of Court is directed to close this case for statistical purposes.



                                     BY THE COURT:




                                     Berle M. Schiller, J.




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